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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                                  *
    UNITED STATES OF AMERICA,                     *
                                                  *
                v.                                *
                                                  *
    MICHAEL L. BABICH, ALEC                       *
                                                        Criminal Action No. 16-cr-10343-ADB
    BURLAKOFF, MICHAEL J. GURRY,                  *
    RICHARD M. SIMON, SUNRISE LEE,                *
    JOSEPH A. ROWAN, and JOHN KAPOOR,             *
                                                  *
                Defendants.                       *
                                                  *


                         MEMORANDUM AND ORDER
               ON THE GOVERNMENT’S MOTION FOR RESTITUTION

BURROUGHS, D.J.

        On May 2, 2019, a jury convicted Defendants Michael Gurry, Richard Simon, Sunrise

Lee, Joseph Rowan, and John Kapoor of conspiring to violate the Racketeer Influenced and

Corrupt Organizations (“RICO”) statute, 18 U.S.C. § 1962(d). [ECF No. 841]. Separately,

Defendants Michael Babich and Alec Burlakoff both pled guilty. [ECF Nos. 543, 664].

        Presently before the Court is the Government’s motion for mandatory restitution. [ECF

No. 1035]. For the reasons stated below, the motion, [ECF No. 1035], is GRANTED in part and

DENIED in part. 1 Restitution is awarded in the amount of $56,686,731.53.




1
  The Government asks that the Defendants be jointly and severally liable for this amount. [ECF
No. 1035 at 1–2]. “If the court finds that more than 1 defendant has contributed to the loss of a
victim, the court may make each defendant liable for payment of the full amount of restitution or
may apportion liability among the defendants to reflect the level of contribution to the victim’s
loss and economic circumstances of each defendant.” 18 U.S.C. § 3664(h). The parties will be
afforded the opportunity to provide further briefing regarding how they believe the Court should
apportion liability among the Defendants.
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I.        LEGAL STANDARD

          “[R]estitution is designed to compensate the victim, not to punish the offender. To this

end, the [Mandatory Victim Restitution Act (“MVRA”)] mandates that a defendant convicted of

certain federal crimes, including those ‘committed by fraud or deceit,’ must make restitution to

victims commensurate with the victims’ actual losses.” United States v. Naphaeng, 906 F.3d

173, 179 (1st Cir. 2018) (quoting 18 U.S.C. § 3663A(c)(1)(A)(ii)). “When determining

restitution, a sentencing court is not expected to undertake a full-blown trial” and is not held to a

standard of “absolute precision.” Id. (quoting United States v. Mahone, 453 F.3d 68, 74 (1st Cir.

2006)).

          The parties agree that restitution is mandatory in this case under the MVRA, [ECF No.

1035 at 2–3; ECF No. 1121 at 6], but disagree as to the amount of restitution and whether certain

claimed losses were caused by their conduct. The Government must establish, by a

preponderance of the evidence, the amount of loss suffered by victims. 18 U.S.C. § 3664(e).

          The First Circuit has adopted “a ‘but for’ standard of causation for restitution that

requires the government to show not only that a particular loss would not have occurred but for

the conduct underlying the offense of conviction, but also that the causal nexus between the

conduct and the loss is not too attenuated (either factually or temporally).” United States v.

Corey, 77 Fed. App’x 7, 10 (1st Cir. 2003); see also United States v. Vaknin, 112 F.3d 579, 590

(1st Cir. 1997) (explaining that the “watchword is reasonableness”). “[U]nforeseeable

consequential damages are beyond the scope of the MVRA . . . .” Corey, 77 F. App’x at 10.

Restitution may not include harms that do “not flow directly and immediately from the act of the




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[defendant], but only from some of the consequences or results of such act.” Id. at 9–10 (citation

omitted).

          In a conspiracy case, “the district court may order restitution to every victim directly

harmed by the defendant’s conduct . . . that is an element of the offense of conviction, without

regard to whether the particular criminal conduct of the defendant which directly harmed the

victim . . . was even charged in the indictment.” United States v. Hensley, 91 F.3d 274, 277 (1st

Cir. 1996); 2 see also United States v. Acosta, 303 F.3d 78, 86–87 (1st Cir. 2002) (“[T]he district

court may order restitution without regard to whether the conduct that harmed the victim was

conduct underlying the offense of conviction.”).

    II.   DISCUSSION

          The parties agree that there are individual victims as well as institutional victims, but

disagree as to who should be compensated, for how much, and based on what conduct. In

determining the losses caused by the scheme at issue here, the Court begins with the indictment

to determine the offense of conviction. Hensley, 91 F.3d at 277. Following the post-trial

motions, the surviving convictions were based on the predicate acts of mail and wire fraud in

connection with the Insys reimbursement center (“the IRC”) and the prior authorization requests

that went through the IRC. [ECF No. 1028 at 85]. According to the indictment, “[t]he

defendants used the bribes and kickbacks to [inter alia] fraudulently cause insurers to pay for

new prescriptions, as well as for increases in dosages and units of new and existing

prescriptions” and “[h]ad the insurers known that the defendants gave bribes and kickbacks to

the targeted practitioners, the insurers would not have authorized payment for Subsys . . . .”


2
  Though Hensley was considering victims under the Victim and Witness Protection Act and not
the MVRA, “[t]he definition of ‘victim’ is the same in both statutes . . . .” United States v.
Donaghy, 570 F. Supp. 2d 411, 420 (E.D.N.Y. 2008) (citing Hensley, 91 F.3d at 277).

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[ECF No. 419 ¶¶ 30, 31]. This language clearly links the insurance fraud to the bribes and the

bribed practitioners.

       Later in the indictment, there is a separate section describing the manner and means used

for the fraudulent prior authorization requests. [Id. ¶ 63]. The second paragraph of this section

says “[t]he defendants and their co-conspirators recognized that the potential for profits

generated by their bribes and kickbacks could not be fully realized unless insurers authorized

payment for Subsys prescriptions. To increase the rate of payment authorization for Subsys

prescriptions, Kapoor, Babich, Gurry, and other co-conspirators known and unknown to the

Grand Jury, created and operated a special unit within Insys [the IRC] that was dedicated to

obtaining prior authorization of Subsys prescriptions directly from insurers.” [Id. ¶ 64]. This

again links the insurance fraud to the bribes and the bribed practitioners. Of the eight or so

paragraphs in this section, however, this is the only one that directly links the bribes to the IRC.

See, e.g., [id. ¶¶ 63–70]. The remaining paragraphs describe aspects of the prior authorization

scheme more generally and without reference to the bribes, therefore suggesting that the

insurance fraud scheme was not wholly linked to the bribes.

       This inconsistency in the parameters of the insurance fraud creates some ambiguity as to

the scope of the offense of conviction and gives the Defendants a basis to argue that the offense

of conviction is limited to doctors that received bribes and kickbacks. As a result, they claim

that restitution may not include the losses from every Subsys prescription, but must be limited to

prescriptions from those doctors that received kickbacks and bribes. [ECF No. 1121 at 13]. The

Government, also with support from the language of the indictment, argues that the offense of

conviction is broad enough to encompass all prior authorization requests that went through the




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IRC, even from doctors that were not identified in the indictment as having been bribed. [ECF

No. 1191 at 7].



       A.         Individual Victims

       The Government originally sought $10,198.20 in restitution for six identified individual

victims to reflect “the amount of actual out-of-pocket copay costs related to Subsys.” [ECF No.

1035 at 2, 6]. This initial request was uncontested by Defendants. [ECF No. 1121 at 6].

Thereafter, Victim No. 5431212 increased her request for restitution and three new victims

submitted requests: Victim No. 6002800, Victim No. 6192691, and Victim No. 5431204. [ECF

No. 1191 at 3]. With regard to these increased and more recent claims, the Defendants argue that

many of the new losses claimed by individual victims have not been proven to be directly caused

by the Defendants’ RICO violation. 3 The Court addresses the claims of these four victims

individually. 4

                  1.    Victim No. 6002800

       Victim No. 6002800 seeks $48,816.00 to account for her dental costs, including dental

implants, that she claims were necessary due to tooth decay that was caused by Subsys. [ECF



3
 It remains uncontested that the other five originally identified Victims are entitled to the
amount they requested. Specifically, Victim No. 5632738 is entitled to $1,140.00 in restitution;
Victim No. 6002801 is entitled to $1,231.41 in restitution; Victim No. 6002802 is entitled to
$965.00 in restitution; Victim No. 5431216 is entitled to $2,006.00 in restitution; and Victim No.
5431207 is entitled to $3,041.23 in restitution. [ECF No. 1035 at 7; ECF No. 1121 at 6; ECF
No. 1191 at 3; ECF No. 1210 at 20].
4
  The Court’s discussion of the individual victims’ claims should not be taken as an evaluation of
their merit for purposes of any proceedings outside of this case.




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No. 1191 at 3; ECF No. 1191-1 at 10–11, Filed Under Seal]. As evidence in support of her claim

for restitution, she originally provided a doctor’s letter, which indicated that her dental problems

began “in the early 2000’s,” roughly fourteen years before she began taking Subsys. [ECF No.

1191-1 at 3, Filed Under Seal]. After “the government noted the date,” [ECF No. 1191 at 3 n.1],

however, the dentist amended his letter to indicate that the problems began in 2014, [id. at 2].

       There has been no scientific evidence or evidence beyond the anecdotal presented to the

Court to suggest, let alone prove by a preponderance of the evidence, that Subsys causes tooth

decay. Therefore, the Court cannot determine by a preponderance of the evidence that Victim

No. 6002800’s dental costs were directly caused by the Defendants’ conspiracy in this case such

that they would be losses subject to restitution. Her claim for restitution is therefore denied.

               2.      Victim No. 5431212

       The Government originally sought $1,815.00 in restitution for Victim No. 5431212,

which reflected the Victim’s out-of-pocket copay expenses. [ECF No. 1035 at 7]. Defendants

did not originally and do not now contest this amount. [ECF No. 1121 at 6]. Victim No.

5431212 now additionally requests $42,839.70 to account for anticipated dental work as well as

her husband’s lost wages. For the reasons previously discussed, the Court is unable to find by a

preponderance of the evidence that Victim No. 5431212’s dental costs were directly caused by

the Defendants’ conspiracy at issue in this case. Regarding her husband’s alleged lost wages,

although she provides voluminous medical records, she fails to provide any evidence that would

demonstrate that her husband’s lost wages were directly caused by the Defendants’ conspiracy.

See generally [ECF No. 1191-2, Filed Under Seal]. Similarly, although she estimates that her

husband’s lost wages would total $10,098.00, there is no evidence in the record of his wages.




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See generally [id.]. Therefore, the Court orders the originally requested restitution amount of

$1,815.00 and otherwise denies her claim.




               3.      Victim No. 6192691

       Victim No. 6192691’s estate seeks restitution for the pecuniary value of “compensable

companionship, advice, guidance, support, and services” that her family would have received

from their daughter had she not passed away while using Subsys in 2016. [ECF No. 1191-3 at

22, Filed Under Seal]. Her estate requests “a conservative total loss estimate in the range of

$930,000.00 . . . .” [Letter from the Estate of Victim No. 6192691 to the Parties, at 2 (Jan. 30,

2020)]. The Government makes no argument in support of the estate’s claim. See [ECF No.

1191 at 3, Filed Under Seal].

       “[I]n the case of an offense resulting in bodily injury that results in the death of the

victim,” the MVRA requires that the defendant “pay an amount equal to the cost of necessary

funeral and related services . . . .” 18 U.S.C. § 3663A(b)(3); see, e.g., United States v. Amador-

Huggins, 799 F.3d 124, 133–34 (1st Cir. 2015) (upholding a district court’s award of funeral

expenses for a carjacking victim and travel expenses for family members to attend the funeral).

Additionally, under 18 U.S.C. § 3663A, “the legal guardian of the victim or representative of the

victim’s estate, another family member, or any other person appointed as suitable by the court,

may assume the victim’s rights under this section” in the case of a deceased victim. 18 U.S.C.

§ 3663A(a)(2). In this case, Victim No. 6192691’s estate not only seeks to recover for her loss,

but also for her parents’ losses.




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       Victim No. 6192691 was prescribed Subsys by a Dr. Vivienne Matalon, who has not

been accused of accepting bribes or kickbacks to increase Subsys prescriptions. [ECF No. 1191-

3 at 18, Filed Under Seal]. Therefore, the estate must demonstrate that the parents’ losses were

otherwise caused by the Defendants’ conduct in this case. The Victim’s estate argues that

“causation is not an issue,” but makes no argument to support causation. [ECF No. 1191 at 3,

Filed Under Seal; Letter from the Estate of Victim No. 6192691 to the Parties, at 2]. The letter

from Victim’s counsel is insufficient to establish by a preponderance of the evidence that it was

foreseeable that the Victim could overdose due to Defendants’ conspiracy or, by extension, that

the parents’ losses were foreseeable. The Court is therefore unable to aware restitution. Her

remedy may more appropriately lie with Dr. Matalon.

               4.      Victim No. 5431204

       Victim No. 5431204 was also prescribed Subsys by a doctor who has not been accused of

accepting bribes or kickbacks as part of this conspiracy. He seeks either between $622,156 and

$622,381 or between $1,340,706 and $1,357,748 to cover two possible medical care options to

address the lifelong effects of his Subsys addiction. [ECF No. 1191 at 14]. This Victim provides

a report from the Program Director of the Stanford Addiction Medicine Fellowship and Assistant

Professor of Psychiatry at Stanford University School of Medicine, [ECF No. 1191-4 at 2, Filed

Under Seal], which maintains that the Victim should never have been prescribed Subsys in the

first place and that his provider deviated from standard medical practices, including in relation to

evaluating the Victim’s risk of developing an addiction, [id.]. Because of his addiction and

associated brain damage from “chronic heavy opioid exposure under [his doctor’s] care,” Victim

No. 5431204 will require lifelong treatment. [Id. at 6].




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       The Court must determine whether Victim No. 4321204 was “directly harmed by the

defendant’s criminal conduct in the course of the scheme, conspiracy or pattern.” 18 U.S.C.

§ 3663A(a)(2). Though the Court is not limited to the specifically charged conduct, it may only

consider the effects of the relevant conduct in the conspiracy at issue. See Hensley, 91 F.3d at

274. The Victim has provided evidence that his provider deviated from safe and ethical practices

in prescribing Subsys, but has not alleged nor provided evidence that his provider prescribed

Subsys because he was receiving kickbacks and bribes from the Defendants. Similarly, there is

no evidence to suggest that an IRC employee misrepresented that the Victim had breakthrough

cancer pain in requesting that his Subsys prescription be covered. The Court is therefore unable

to find by a preponderance of the evidence that Victim No. 5431204 suffered his harm as a direct

consequence of the conspiracy at issue in this case.

       B.      Insurance Providers

       Under 18 U.S.C. § 3663A(b)(1), Defendants must pay each insurer an amount equal to

the loss incurred by the insurer due to the RICO conspiracy. There is no question that this is a

complicated issue with a myriad of decisions that need to be made to arrive at an accurate and

fair restitution amount.

       The Defendants argue that the Government is impermissibly asking the Court to consider

all paid Subsys claims nationwide, as opposed to the claims related to prescriptions from the

thirteen bribed practitioners. [ECF No. 1121 at 6]. The Government maintains that 80.9% of

Subsys prescriptions were processed through the IRC. [ECF No. 1035 at 9]. The Defendants

assert that the government cannot rely on the unproven assumption that every claim processed by

the IRC was illegitimate, [ECF No. 1121 at 15], and the Government agrees that it cannot prove

that every call that went through the IRC was fraudulent, see [2/28/19 Tr. at 134:4–13] (“There’s



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no assertion here that every single time the IRC called an insurance company that there was

fraud.”). Further, although some of the off-label prescriptions were undoubtedly authorized as a

result of misrepresentations made by the IRC, the fact that Subsys was prescribed off-label is in

and of itself insufficient to establish that a prescription was fraudulent. Like the jury, the Court

“may not conclude that a particular prescription was outside the usual course of professional

practice, not for a legitimate medical purpose, or in violation of a healthcare practitioner’s

fiduciary duty solely because it was prescribed for an off label use.” [4/4/19 Tr. at 56:24–57:4].

Likewise, the mere fact that a call came from the IRC is insufficient to establish that it was

fraudulent. As the Court explained to the jury, “[e]stablishing such a department, if done in

accordance with applicable law, is . . . not in and of itself illegal.” [Id. at 57:15–17].

       In order to accurately evaluate the entire amount of victims’ losses in this case, the Court

would need to review every claim that was processed by the IRC to determine whether the IRC

made misrepresentations about the patient, including that the patient had breakthrough cancer

pain or dysphagia when the patient did not, or that the patient had tried a number of other

prescriptions before seeking out Subsys, when the patient had not. The Court would also need to

determine which specific claims that passed through the IRC were fraudulent because they were

prescribed by a bribed doctor, were for a patient who should not have received Subsys, or were

titrated to an amount too high to be appropriate for the patient. For each insurer’s claim, the

Court would need to ascertain the insurer’s policy at the time, whether the insurer would have

covered an off-label prescription of Subsys, whether the prescription was appropriate despite it

being off-label, and whether the IRC misrepresented the patient’s diagnosis in order to get the

prescription covered.




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        Under the Sentencing Guidelines, the Court need not award restitution in the full amount

of victims’ losses in the event that “determining complex issues of fact related to the cause or

amount of the victim’s losses would complicate or prolong the sentencing process to a degree

that the need to provide restitution to any victim is outweighed by the burden on the sentencing

process.” U.S. Sentencing Guidelines Manual § 5E1.1 (U.S. Sentencing Comm’n 2018). Even

when considering restitution under the MVRA, the First Circuit has instructed that “restitution

should not be awarded when it is too difficult to estimate accurately. That is, where the facts are

too difficult to discern, the sentencing court’s option is to forgo restitution, not to fall back on a

factually unsupported calculation method.” United States v. Vega-Martínez, __ F.3d __, 2020

WL 502538, at *7 (1st Cir. Jan. 31, 2020).

        Given the challenges in resolving the legal and factual issues raised by the parties, the

Court finds that trying to quantify restitution beyond the thirteen identified medical professionals

bribed would, as foreseen by the Guidelines, be too complicated and unduly prolong and burden

the sentencing process. The Court further finds that any restitution number arrived at without

reviewing individual files would be too speculative. Therefore, the Court will limit restitution to

those losses for which there is either no dispute regarding restitution or for which the payments

can be traced to the bribed co-conspirator doctors.

        Although Defendants agree that the Court may order restitution based on prescriptions

written by bribed doctors, [ECF No. 1210 at 4], they maintain that the losses from prescriptions

provided by these bribed prescribers should be reduced to 80.9%, to account for only those

claims that passed through the IRC, and by an additional 73%, to account for only those

prescriptions made for non-cancer patients, [ECF No. 1121 at 12]. The Court declines to make

these additional reductions. Although the Court finds the amount of restitution owed beyond the



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thirteen co-conspirator doctors to be too complicated to calculate, it is clear that the amount that

would be owed is at least equal to the total value of prescriptions written by the bribed doctors. 5

If anything, the amount of restitution being awarded by the Court underestimates the amount that

should be paid and the Court will not reduce the award further.

       The Court therefore finds restitution to be owed to the insurers, including Medicare, as

more fully set forth below. The information included as to each insurer comes from materials

provided by that insurer.

               1.      Medicare

       Medicare paid approximately $169,058,169.00 for Subsys prescriptions for patients who

had no principal diagnosis of cancer within a year before the prescription. [ECF No. 1035 at 8].

The Government is seeking $136,768,059.00, which represents payments for claims that

originated in the IRC, [id. at 9], arguing that “Medicare would not have knowingly authorized

payment for any Subsys prescription if the prescription was off-label (i.e., not for breakthrough

cancer pain)” or if it knew that the prior authorization request originated at the IRC rather than

from a physician’s office, [ECF No. 1035 at 8, 9]. The Court notes that despite this

representation, there is evidence that Medicare covered off-label use of fentanyl products that

were similar to Subsys. See [3/28/19 Tr. at 90:8–98:2].

       Given the complex issues of fact related to the cause or amount of Medicare’s losses, the

Court limits the restitution award to $30,232,895.00, which represents the prescriptions




5
  The Court is not limited to the eleven bribed practitioners identified by the Defendants. [ECF
No. 1210 at 6]. As discussed above, the Court may consider relevant conduct in furtherance of
the conspiracy, not merely charged conduct. See Hensley, 91 F.3d at 277. Therefore, the Court
may consider the prescriptions provided by each of the thirteen co-conspirator practitioners
identified by the Government prior to trial.

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attributable to the thirteen co-conspirator prescribers, as reflected in the PSR. See [ECF No.

1210 at 19–20].

               2.      Aetna

       Aetna seeks $15,769,912.00 in restitution. [ECF No. 1035 at 10; ECF No. 1035-7 at 1–

2]. It reviewed all reimbursements from 2012 until October 2018, [ECF No. 1191-12 at 5], and

found that it had covered Subsys for 3,690 Aetna members, [id.]. Of those members, 1,894

received Subsys prescriptions despite not having a cancer diagnosis. [Id.]. Those prescriptions

cost Aetna $15,772,637.00. [Id.; ECF No. 1035-7 at 6]. Applying the 80.9% threshold to

represent claims that were processed through the IRC, all of which Aetna argues were fraudulent,

Aetna estimates that it paid $12,760,063.00 in fraudulent claims. [Id. at 6]. Aetna separately

calculates that it paid $1,193,479.00 to cover prescriptions from the bribed doctors in this case,

including Mahmood Ahmad, Heather Alfonso, Gavin Awerbuch, Steven Chun, Michael Frey,

Paul Madison, and Xiulu Ruan. [ECF No. 1035-7 at 4, Filed Under Seal]. Given the complex

issues of fact related to the cause or amount of Aetna’s losses, the Court limits the restitution

award to $1,193,479.00, which represents the prescriptions attributable to the thirteen co-

conspirator prescribers.

               3.      Anthem Blue Cross Blue Shield

       Anthem Blue Cross Blue Shield (“Anthem”) claims that it is owed $19,310,973.00.

[ECF No. 1035 at 10; ECF No. 1035-8, Filed Under Seal]. Anthem identified 827 health plan

members whose Subsys prescriptions were reimbursed. [ECF No. 1191-7 at 9]. It then

determined that 391 of those members actually had demonstrable cancer diagnoses, which left

436 members without a cancer diagnosis. [Id. at 10]. By comparing its prior authorization

records with the diagnoses, Anthem concluded that 248 members had prescriptions reimbursed



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because of some misrepresentation, including a fraudulent cancer diagnosis or the caller

reporting that they were calling from a doctor’s office. [Id.]. It seeks $20,714,504.00 as

restitution for claims it paid for those 248 members. [Id.].

       Anthem has not provided sufficient evidence for the Court to find their calculations

accurate by a preponderance of the evidence. Again, given the complex issues of fact related to

the cause or amount of Anthem’s losses, the Court would limit the restitution award to the

prescriptions attributable to the thirteen co-conspirator prescribers. Because Anthem does not

provide any quantification of its payments for prescriptions written by the thirteen bribed doctors

identified by the Government, no restitution is awarded on this record. See generally [id.].

               4.      Cigna

       Cigna estimates that it paid $16,647,642.22 for Subsys prescriptions. [ECF No. 1035-9 at

3, Filed Under Seal]. It claims that it would not have covered those prescriptions if it had known

that the calls were coming from the IRC or if the prescriptions were not for patients suffering

from breakthrough cancer pain. [Id. at 5]. Alternatively, Cigna calculates that it paid

$1,838,768.07 to the specific medical providers involved in this case. [Id. at 3–4]. Given the

complex issues of fact related to the cause or amount of Cigna’s losses, the Court limits the

restitution award to $1,838,768.07, which represents the prescriptions attributable to the thirteen

co-conspirator prescribers.

               5.      Caremark

       Caremark estimates that it paid $93,973,563.64 for Subsys prescriptions. [ECF No.

1191-10 at 3, Filed Under Seal]. Caremark uses the Government’s 80.9% rate, based on the

percent of prescriptions filled through the IRC and assumes that every prescription submitted by

the IRC was illegitimate, to arrive at a total of $76,024,612.98. Caremark paid $15,072,543.35



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for Subsys prescriptions written by the thirteen practitioners identified by the Government as

having received bribes. [Id. at 3 n.1]. Given the complex issues of fact related to the cause or

amount of Caremark’s losses, the Court limits the restitution award to $15,072,543.35, which

represents the prescriptions attributable to the thirteen co-conspirator prescribers.

               6.      Silverscript

       Silverscript originally filed a spreadsheet that claimed $7,983,771.48 in losses, with no

argument or affidavit in support of the claim. [ECF No. 1035 at 10; ECF No. 1035-11, Filed

Under Seal]. Silverscript then filed a declaration claiming that it paid $9,868,691.57 for Subsys

prescriptions. [ECF No. 1191-9 at 2, Filed Under Seal]. The $7,983,771.48 figure therefore

represents 80.9% of the processed claims. [Id. at 4]. Silverscript estimates that it paid

$3,320,804.07 in claims for prescriptions written by the thirteen practitioners identified by the

Government. [Id. at 2 n.1]. Given the complex issues of fact related to the cause or amount of

Silverscript’s losses, the Court limits the restitution award to $3,320,804.07, which represents the

prescriptions attributable to the thirteen co-conspirator prescribers.

               7.      Horizon Blue Cross Blue Shield

       Horizon Blue Cross Blue Shield (“Horizon”) seeks $2,088,066.00 in reimbursement.

[ECF No. 1035-12]. Horizon claims that it paid $2,088,066.00 in claims “for members who did

not a have [sic] cancer diagnosis or had questionable prior authorization requests.” [ECF No.

1191-11 at 4]. Alternatively, Horizon identifies six prescribers who were in the Insys Speaker

Program and received payments in exchange for prescribing Subsys. [ECF No. 1035-12 at 4].

Horizon paid a total of $2,072,576.43 for Subsys prescriptions written by those bribed

prescribers. [Id.]. Though Horizon’s estimate tracks prescriptions written by allegedly bribed

practitioners, only two are among the thirteen identified by the Government. Horizon paid



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$9,926.75 to cover prescriptions from Steven Chun, [Id. at 7–8] and $94,766.59 for prescriptions

from Heather Alfonso, [Id. at 4]. Given the complex issues of fact related to the cause or amount

of the victim’s losses, the Court limits the restitution award to $104,693.34, which represents the

prescriptions attributable to Steven Chun and Heather Alfonso.

                8.      United HealthCare Services

        United HealthCare Services (“United”) assumes that all IRC-related calls included a

misrepresentation about a cancer diagnosis and requests $28,318,856.50, which reflects claims

processed through the IRC for patients who did not have a cancer diagnosis within six months of

their Subsys prescription. [ECF No. 1191- 8 at 2, 3–4, Filed Under Seal]. United does not

address what proportion of prescriptions may have been filled through the IRC. United also

includes charges for the entirety of the 2016, claiming that its harm continued beyond the end of

the conspiracy, as they were still paying for Subsys for patients who did not have a cancer

diagnosis. [Id. at 4 n.1].

        United paid $4,913,350.06 for Subsys prescriptions written by bribed doctors. [Id. at 5].

Again, given the complex issues of fact related to the cause or amount of United’s losses, the

Court limits the restitution award to $4,913,350.06, which represents the prescriptions

attributable to the thirteen co-conspirator prescribers.

 III.   CONCLUSION

        Accordingly, for the reasons stated herein, the Government’s motion for order of

restitution, [ECF No. 1035], is GRANTED in part and DENIED in part. The Court will

determine whether the Defendants are jointly and severally liable for the restitution amount or if

it should be apportioned after the parties have had an opportunity to brief the issue. The




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Government has demonstrated by a preponderance of the evidence that the victims are entitled to

at least $56,686,731.53, which is broken down as follows:

       (1)    Medicare: $30,232,895.00

       (2)    Aetna: $1,193,479.00

       (3)    Caremark: $15,072,543.35

       (4)    Cigna: $1,838,768.07

       (5)    Horizon: $104,693.34

       (6)    Silverscript: $3,320,804.07

       (7)    United: $4,913,350.06

       (8)    Victim No. 5632738: $1,140.00

       (9)    Victim No. 6002801: $1,231.41

       (10)   Victim No. 6002802: $965.00

       (11)   Victim No. 5431216: $2,006.00

       (12)   Victim No. 5431207: $3,041.23

       (13)   Victim No. 5431212: $1,815.00



       SO ORDERED.

February 14, 2020                                           /s/ Allison D. Burroughs
                                                            ALLISON D. BURROUGHS
                                                            U.S. DISTRICT JUDGE




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